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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                           Chapter 11

    USA GYMNASTICS, 1                                                Case No. 18-09108-RLM-11

                     Debtor.


                                NOTICE OF MOTION AND HEARING

             PLEASE TAKE NOTICE that on May 22, 2019, The Additional Tort Claimants

Committee of Sexual Abuse Survivors (the “Sexual Abuse Survivors’ Committee”), filed The

Additional Tort Claimants Committee of Sexual Abuse Survivors’ Motion for an Order Pursuant

to Bankruptcy Rule 2004 Directing Production of Documents and Materials from USA

Gymnastics [Doc 519] (the “Motion”), which has been set for a hearing (the “Hearing”) on June

12, 2019 at 1:30 p.m. (prevailing Eastern time) in Room 329 of the United States

Bankruptcy Court, 46 East Ohio Street, Indianapolis, IN 46204.

             PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be

filed by Wednesday, June 5, 2019 at 4:00 p.m. (prevailing Eastern time).

             PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested

parties to participate in the Hearing by conference call is 1-888-273-3658, passcode: 9247462#.

All callers shall keep their phones muted unless addressing the Court. All callers must identify

themselves and the party(ies) they represent when addressing the Court. Caller shall not place

their phones on hold during the Hearing.



1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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       PLEASE TAKE FURTHER NOTICE that copies of the Motion may be accessed

through the case website at https://omnimgt.com/usagymnsatics, or by contacting the Sexual

Abuse Survivors’ Committee’s attorneys, on PACER, or from the Clerk of the Court.

                                           Respectfully submitted,
                                           PACHULSKI STANG ZIEHL & JONES LLP
Dated: May 20, 2019                        /s/ James I. Stang
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2019, a copy of the foregoing Notice of Motion and
Hearing was filed electronically. Notice of this filing will be sent to the following parties
through the Court’s Electronic Case Filing System. Parties may access this filing through the
Court’s system.

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      I further certify that on May 22, 2019, a copy of the foregoing Notice of Motion and
Hearing was served via electronic mail to the following:
United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                   /s/ Meredith R. Theisen
                                                   Meredith R. Theisen




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